Case 2:24-cv-10546-MWF-BFM       Document 40     Filed 04/23/25   Page 1 of 6 Page ID
                                      #:1122

                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                            CIVIL MINUTES—GENERAL

 Case No. CV 24-10546-MWF (BFMx)                Date: April 23, 2025
 Title: Stephen Chapman v. Horace Mann Property and Casualty Insurance Company
 Present: The Honorable MICHAEL W. FITZGERALD, U.S. District Judge

           Deputy Clerk:                            Court Reporter:
           Rita Sanchez                             Not Reported

           Attorneys Present for Plaintiff:         Attorneys Present for Defendant:
           None Present                             None Present

 Proceedings (In Chambers): ORDER DENYING PLAINTIFF’S MOTION TO
                            REMAND [29]

       Before the Court is Plaintiff Stephen Chapman’s Motion for Judicial Notice of
 Notice of Motion to Remand Sua Sponte (the “Motion”) filed on March 4, 2025, which
 the Court construed as motion to remand. (Docket Nos. 29, 31). On March 21, 2025,
 Defendant Horace Mann Property & Casualty Insurance Company filed an Opposition.
 (Docket No. 34). Plaintiff filed a Reply on March 31, 2025. (Docket No. 37).

        On April 4, 2025, Plaintiff filed a Notice of Supplemental Authority in Support
 of his Motion to Remand (“Supplemental Authority”), which included over 400 pages
 of exhibits. (Docket No. 38). Defendant filed objections to the Supplemental
 Authority on April 7, 2025. (Docket No. 39).

      The Motion is DENIED. Defendant has met its burden of establishing that
 removal was proper pursuant to this Court’s diversity jurisdiction.

 I.    BACKGROUND

        Plaintiff commenced this action in Los Angeles County Superior Court (the
 “State Action”) on October 24, 2024. (See Notice of Removal (“NOR”) (Docket No.
 1) at 1). Defendant was served on November 8, 2024. (Declaration of Kristin
 Ingulsrud in Support of Notice of Removal (Docket No. 1-3) ¶ 2).

        On November 14, 2024, Plaintiff filed a First Amended Complaint (“FAC”)
 alleging the following causes of action: (1) Breach of Contract; (2) Bad Faith Denial of

 ______________________________________________________________________________
                          CIVIL MINUTES—GENERAL                              1
Case 2:24-cv-10546-MWF-BFM        Document 40     Filed 04/23/25   Page 2 of 6 Page ID
                                       #:1123

                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES—GENERAL

 Case No. CV 24-10546-MWF (BFMx)                Date: April 23, 2025
 Title: Stephen Chapman v. Horace Mann Property and Casualty Insurance Company
 Insurance Benefits; (3) Fraud and Intentional Misrepresentation; (4) Negligent
 Misrepresentation; (5) Breach of Fiduciary Duty; (6) Malfeasance; (7) Oppressive
 Conduct; (8) Violation of California Insurance Code § 662; (9) Violation of California
 Business & Professions Code § 17200; (10) Intentional Infliction of Emotional
 Distress; and (11) Negligent Infliction of Emotional Distress. (NOR at 2)

        On December 6, 2024, Defendant Horace Mann Property and Casualty
 Insurance Company filed the NOR in the United States District Court for the Central
 District of California. (Id. at 2). The basis of removal is diversity jurisdiction under 28
 U.S.C § 1132(b). (Id.).

        On January 7, 2025, Defendant filed a copy of the Notice of Removal in the
 State Action. (See Docket No. 11, Ex. B, List of Documents Filed in Stephen
 Chapman v. Horace Mann Property & Casualty Insurance Company, 24STCV27909
 (“State Court Docket”)) (noting “Notice of Removal to Federal Court” was filed on
 “1/07/2025”). Plaintiff alleges that Defendant served him a copy of the unfiled NOR
 on December 6, 2024. (Motion at 5–6).

        Following Defendant’s removal of this action, Plaintiff filed two ex parte
 applications, which primarily requested the Court remand this action to Los Angeles
 County Superior Court. (See Docket Nos. 11, 23). The Court denied Plaintiff’s
 request for remand because he had not identified grounds for expedited relief. (See
 Docket Nos. 17, 27).

       In the weeks that followed, Plaintiff continued filing declarations and other
 “notices”, which primarily sought remand of the action. (See e.g., Docket Nos. 18, 20,
 29, 30). On March 10, 2025, the Court decided to construe Plaintiff’s latest filing as a
 motion to remand and set a briefing schedule. (Docket No. 31). The Court then took
 the motion under submission. (Id.).

 II.   DISCUSSION

        In general, “any civil action brought in a State court of which the district courts
 of the United States have original jurisdiction, may be removed by the defendant or the

 ______________________________________________________________________________
                          CIVIL MINUTES—GENERAL                              2
Case 2:24-cv-10546-MWF-BFM        Document 40     Filed 04/23/25    Page 3 of 6 Page ID
                                       #:1124

                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES—GENERAL

 Case No. CV 24-10546-MWF (BFMx)                Date: April 23, 2025
 Title: Stephen Chapman v. Horace Mann Property and Casualty Insurance Company
 defendants, to the district court[.]” 28 U.S.C. § 1441(a). A removing defendant bears
 the burden of establishing that removal is proper. See Abrego Abrego v. The Dow
 Chem. Co., 443 F.3d 676, 684 (9th Cir. 2006) (per curiam) (noting the “longstanding,
 near-canonical rule that the burden on removal rests with the removing defendant”). If
 there is any doubt regarding the existence of subject matter jurisdiction, the court must
 resolve those doubts in favor of remanding the action to state court. See Gaus v. Miles,
 Inc., 980 F.2d 564, 566 (9th Cir. 1992) (“Federal jurisdiction must be rejected if there
 is any doubt as to the right of removal in the first instance.”). Indeed, “[i]f at any time
 before final judgment it appears that the district court lacks subject matter jurisdiction,
 the case shall be remanded.” 28 U.S.C. § 1447(c); see Kelton Arms Condo. Owners
 Ass’n, Inc. v. Homestead Ins. Co., 346 F.3d 1190, 1192 (9th Cir. 2003) (“Subject
 matter jurisdiction may not be waived, and, indeed, we have held that the district court
 must remand if it lacks jurisdiction.”).

       A.     Supplemental Authority

        On March 10, 2025, the Court issued an Order explaining that it would construe
 the Motion as a motion to remand and permitted Plaintiff to file a Reply in support of
 the Motion no later than March 31, 2025. (Docket No. 31). Plaintiff filed a Reply by
 that deadline. However, on April 4, 2025, Plaintiff filed supplemental authority in
 support of the Motion, which included over 400 pages of exhibits. (See generally
 Supplemental Authority).

       On April 7, 2025, Defendant objected to the Supplemental Authority on
 procedural and substantive grounds. (Docket No. 39). Specifically, Defendant took
 issue with the untimeliness of the filings and Plaintiff’s distortion of and citation to
 nonexistent case law. (Id. at 1–3).

        Defendant’s objections are well-taken. However, because the Supplemental
 Authority did not alter the Court’s ruling, Defendant’s objections are overruled.
 Plaintiff is warned, however, that any future noncompliance with the Local Rules or
 this Court’s procedures may not be similarly entertained.


 ______________________________________________________________________________
                          CIVIL MINUTES—GENERAL                              3
Case 2:24-cv-10546-MWF-BFM        Document 40     Filed 04/23/25    Page 4 of 6 Page ID
                                       #:1125

                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES—GENERAL

 Case No. CV 24-10546-MWF (BFMx)                Date: April 23, 2025
 Title: Stephen Chapman v. Horace Mann Property and Casualty Insurance Company
       B.     Motion to Remand

        Plaintiff largely renews arguments raised in his previous filings and primarily
 argues that remand is appropriate because Defendant delayed in filing the NOR in the
 State Action. As the Court previously explained, the procedural missteps allegedly
 committed by Defendant do not divest this Court of jurisdiction. (See Docket No. 17
 “Prior EPA Order”). While Section 1446(d) creates a separate obligation to
 “promptly” notify the state court of removal after filing a notice of removal in federal
 court, “a number of federal courts have held that a failure to file the copy with the state
 court will not defeat the district court’s subject-matter jurisdiction.” 14 Charles A.
 Wright & Arthur Miller, Federal Practice and Procedure § 3735 (4th ed.); see also
 Rito Ligutom v. SunTrust Mortgage, No. C10-05431 HRL, 2011 WL 445655, *2 (N.D.
 Cal. Feb. 4, 2011) (defendant’s one month delay in filing notice of remand with
 Superior Court did not warrant remand); Nixon v. Wheatley, 368 F.Supp.2d 635, 640
 (E.D. Tex. 2005) (finding notice was reasonably prompt, despite twenty-two day
 delay); Calderon v. Pathmark Stores, Inc., 101 F.Supp.2d 246, 247–48 (S.D.N.Y.
 2000) (concluding thirty-six day delay was relatively short and harmless and did not
 justify remand).

        The Court finds Plaintiff’s arguments regarding other procedural missteps hard
 to follow. Nevertheless, the Court does not perceive how the alleged conduct would
 divest it of jurisdiction or warrant imposition of sanctions on Defendant.

              1. Diversity of Citizenship

        For purposes of removal based on diversity of citizenship, a plaintiff’s state of
 residence is presumptively considered to be their state of citizenship. See Bradley Min.
 Co. v. Boice, 194 F.2d 80, 84 (9th Cir. 1951); see also Adams v. W. Marine Prod., Inc.,
 958 F.3d 1216, 1221 (9th Cir. 2020). In determining the citizenship of a corporation,
 “a corporation shall be deemed to be a citizen of every State . . . by which it has been
 incorporated and of the State . . . where it has its principal place of business[.]” 28
 U.S.C. § 1332(c)(1).


 ______________________________________________________________________________
                          CIVIL MINUTES—GENERAL                              4
Case 2:24-cv-10546-MWF-BFM       Document 40     Filed 04/23/25   Page 5 of 6 Page ID
                                      #:1126

                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES—GENERAL

 Case No. CV 24-10546-MWF (BFMx)                Date: April 23, 2025
 Title: Stephen Chapman v. Horace Mann Property and Casualty Insurance Company
        The Court concludes that there is complete diversity of citizenship between the
 two parties named in the operative complaint (i.e., the First Amended Complaint).
 Plaintiff is an individual residing in Los Angeles County, California, and Defendant is
 incorporated and has its principal place of business in Illinois. (NOR at 3). While
 Plaintiff refers to joinder of a non-diverse defendant, he has filed no motion seeking
 amendment or joinder in this Court.

              2. Amount in Controversy

        Generally, the amount in controversy in a liability coverage case is “the value of
 the underlying potential tort action.” Budget Rent-A-Car, Inc. v. Higashiguchi, 109
 F.3d 1471, 1473 (9th Cir. 1997). Specifically, in actions that call into question the
 validity of an insurance contract, such as when the insurer contends the policy is lapsed
 for nonpayment of premiums, “the policy’s face amount is the measure of the amount
 in controversy.” Elhouty v. Lincoln Benefit Life Co., 886 F.3d 752, 756 (9th Cir.
 2018); see also 14B Charles A. Wright & Arthur Miller, Federal Practice and
 Procedure § 3710.3 (5th ed.) (collecting cases).

        Here, Plaintiff seeks recovery for alleged losses after Defendant canceled an
 automobile insurance policy due to Plaintiff’s alleged nonpayment of the premium.
 (NOR 3). That policy had bodily injury liability limits of $100,000 per
 person/$300,000 per accident, property damage liability limit of $100,000 per accident,
 medical payments limit of $5,000 per insured, UM/UIM bodily injury limits of
 $100,000 per person/$300,000 per accident, collision coverage, other-than-collision
 coverage, and other coverages. (See NOR, Ex.1 (Docket No. 1-2). The policy limit
 alone exceeds the jurisdictional threshold, but Plaintiff also seeks “financial losses,
 including medical expenses, lost wages, and emotional distress”, as well as attorney’s
 fees and costs. (See First Amended Complaint (Docket No. 1-3) at 6).

      Therefore, Defendant has met its burden of establishing both the requisite
 amount in controversy and complete diversity between the parties.



 ______________________________________________________________________________
                          CIVIL MINUTES—GENERAL                              5
Case 2:24-cv-10546-MWF-BFM        Document 40      Filed 04/23/25   Page 6 of 6 Page ID
                                       #:1127

                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES—GENERAL

 Case No. CV 24-10546-MWF (BFMx)                Date: April 23, 2025
 Title: Stephen Chapman v. Horace Mann Property and Casualty Insurance Company
 III.   CONCLUSION

        Accordingly, the Motion is DENIED. Defendant has met its burden of
 establishing that removal was proper pursuant to this Court’s diversity jurisdiction.

        On March 3, 2025, Plaintiff filed the parties’ Joint Rule 26(f) Report. (Docket
 No. 28). The missing Schedule of Pretrial and Trial Dates Worksheet (the
 “Worksheet”) was filed on March 10, 2025. (Docket No. 32). The Worksheet reflects
 Plaintiff’s requested jury trial date of October 7, 2025, and Defendant’s requested jury
 trial date of June 16, 2026.

       A trial in October 2025 is not available on the Court’s calendar, and the Court
 does not believe it is reasonably likely that the case will be ready for trial this year.
 The Court is inclined to grant Defendant’s requested trial date. The Court will
 separately file its Order Re Jury Trial and Order/Referral to ADR.

        Plaintiff is reminded that although he is proceeding pro se, he will be held to the
 same requirements as counsel through discovery and trial preparation. The Court urges
 Plaintiff to review the Self-Representation Order (Docket No. 8).

        IT IS SO ORDERED.




 ______________________________________________________________________________
                          CIVIL MINUTES—GENERAL                              6
